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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

Case No.: CV 19-09309-AB (MRWx) Date: March 6, 2020

 

 

Title: | BackGrid USA, Inc. v. Katheryn Hudson

 

 

Present: The Honorable ANDRE BIROTTE JR., United States District Judge

 

Carla Badirian Katie Thibodeaux
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
Joanna Ardalan Vincent H Chieffo
Proceedings: DEFENDANT'S MOTION TO DISMISS PLAINTIFF'S

COMPLAINT PURSUANT TO F.R. CIV. P. 12(b)(6), AND, IN
THE ALTERNATIVE, FOR AN INQUIRY TO THE REGISTER
OF COPYRIGHTS PURSUANT TO 17 U.S.C. § 411(b)(2) [16]

The Court having carefully considered the papers and the evidence submitted by
the parties, and having heard the oral argument of counsel, hereby takes the motion under
submission.

 

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